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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                      O DIVISION
                                EL PASO

UNITED STATES OF AMERICA                            §
                                                    §
vs.                                                 §     NO: EP:25-CR-00573(1)-KC
                                                    §
 1 David Alexis Herrera-Ramirez                     §
                                                    §

TAKE NOTIC  ICE that the above-entitled case has been set in the United States District Court in El Paso,
Texas as follows:

ARRAIGNMENT:             Thursday, April 10, 2025 at 2:30 PM before U.S. Magistrate Judge
                         Miguel A. Torres Albert Armendariz Sr., U.S. Courthouse, Room #712, 7th Floor
PLEA DEADLINE:           May 7, 2025

STATUS                  Wednesday, May 21, 2025 at 9:30 AM before U.S. District Judge
CONFERENCE:             Kathleen Cardone, Albert Armendariz Sr., U.S.Courthouse, Room #522, 5th Floor
                        NOTE: DEFENDANT MUST APPEAR IN PERSON

        ALL ADDRESSEES on this notice (except those for information only) must appear in person unless
excused from appearing by the Court. Defendants entering a plea of "Not Guilty" who wish to waive
personal appearance at arraignment and their attorneys are excused from appearing if the enclosed waiver is
executed and signed by both the defendant and the attorney of record, AND FILED BY 4:30 P.M. ON THE
DAY PRECEDING THE SCHEDULED DAY OF ARRAIGNMENT. Take note that if the arraignment is
before a United States Magistrate Judge, only a plea of "Not Guilty" may be accepted.

WHENEVER DEFENDANTS OR WITNESSES IN CRIMINAL CASES HAVE NEED FOR THE
SERVICES OF THE OFFICIAL COURT INTERPRETER, THE ATTORNEY CONCERNED MUST
INFORM THE DISTRICT CLERK NOT LATER THAN FIVE (5) DAYS BEFORE THE COURT
APPEARANCE.

NOTE TO ATTORNEY FOR DEFENDANT: The official records in this case show a current address of the
defendant. Since you communicate frequently with the defendant and thereby know changes to his/her
address, it is requested that you promptly communicate the changes of address of your defendant-client to
this office.

                                                                PHILIP J. DEVLIN, Clerk
DATE: April 01, 2025




       To: COURT*COUNSEL FOR THE DEFNDANT*DEFENDANT*U.S. ATTORN
                          PROBATION*U.S. PRETRIAL*U.S. MAGISTRATE
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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               EL PASO DIVISION

UNITED STATES OF AMERICA                                 §
                                                         §
vs.                                                      §     NO: EP:25-CR-00573(1)-KC
                                                         §
(1) David Alexis Herrera-Ramirez                         §
                                                         §

               WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT
                                    AND
                         ENTRY OF PLEA OF NOT GUILTY

COMES NOW Defendant in the above referenced case who, along with his undersigned attorney,
hereby acknowledges the following:

        1.)    Defendant has received a copy of the indictment or information in this case.
Defendant understands the nature and substance of the charges contained therein, the maximum
penalties applicable thereto, and his Constitutional Rights, after being advised of all the above by his
attorney.

        2.)    Defendant understands he has the right to appear personally with his attorney
before a Judge for arraignment in open Court on this accusation. Defendant further understands that,
absent the present waiver, he will be so arraigned in open Court.

        Defendant, having conferred with his attorney in this regard, hereby waives personal
appearance with his attorney at the arraignment of this case and the reading of the indictment or
information, and, by this instrument, tenders his plea of “not guilty”. The defendant understands that
the entry by the Court of said plea for defendant will conclude the arraignment in this case for all
purposes.

Date:
                                                                           Defendant


                                                                     Attorney for Defendant

                                               ORDER

APPROVED by the Court. A plea of “Not Guilty” is entered for defendant effective this date.


Date:
                                                                United States Magistrate Judge
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                         WAIVER OF MINIMUM TIME TO TRIAL

         3 .)    Defendant understands that he has a right to minimum period of time to trial so
that trial shall not commence less than thirty (30) days from the date on which the defendant first
appears through counsel or expressly waives counsel and elects to proceed pro se. Defendant
further understands that, absent the present waiver, he will not be brought to trial during this
thirty (30) days period.

       Defendant, having conferred with his attorney in this regard, hereby WAIVES the
requirement that trial shall not commence less than thirty (30) days from the date on which the
defendant first appears through counsel or expressly waives counsel and elects to proceed pro se.


Date:
                                                                       Defendant


                                                                 Attorney for Defendant
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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               EL PASO DIVISION

UNITED STATES OF AMERICA                               §
                                                       §
vs.                                                    §      NO: EP:25-CR-00573(1)-KC
                                                       §
(1) David Alexis Herrera-Ramirez                       §
                                                       §


                DEFENDANT’S NOTICE OF INTENT TO PLEAD GUILTY

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

        Comes now, undersigned counsel for the Defendant, ___________________________,
on this day and respectfully notifies the Court of his/her intent to plead guilty in lieu of appearing
at the Status Conference scheduled for                     , and in support of said Notice shows the
Court as follows:

        1.     The Defendant moves to have the above styled and numbered cause set for a Plea
               Hearing and states that said Plea Hearing may be referred to the United States
               Magistrate to be set at the Court’s convenience.

               The Defendant requests the plea be set in       2 weeks,       3 weeks; or     weeks.

       2.      The Defendant moves to have the above styled and numbered cause set for a
               Plea and Sentencing Hearing before this Court to be set at the Court’s
               convenience. The Defendant understands it can only be sentenced at the time
               of the Plea if Defendant obtains that approval from the United States Probation
               Office to have a Pre-Sentence Investigation Report prepared for that date. The
               Defendant accepts the responsibility to resolve that approval and sentencing
               issue with the United States Probation Office.

               The Defendant requests the plea be set in       2 weeks,       3 weeks.

       3.      The defendant waives his right to a speedy trial and agrees that the time from the
               date of filing of this Notice in the CM/ECF system to the setting of the plea
               hearing is excludable time within the meaning of the Speedy Trial Act, 18 U.S.C.
               §3161.
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       4.     This Motion is filed not later than the scheduled Plea Deadline.




                                    Respectfully submitted,



                                                                         (signature)

                                                                         (typed or printed name)
                                    Defense Counsel for

                                                                         (typed or printed name)
                                    Defendant



                               CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the above Notice was served upon opposing
counsel, UNITED STATES ATTORNEY’S OFFICE by facsimile or electronically filed with the
Clerk of the Court using the CM/ECF System which will transmit notification of such filing to
the following CM/ECF participant, in accordance with the Federal Rules of Criminal Procedure
on the        day of                , 20.




                                            Defense Attorney
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     COURT INSTRUCTIONS REGARDING NOTICE OF INTENT TO PLEAD GUILTY
                        HON. KATHLEEN CARDONE

1.      Defense counsel will be allowed to file the corresponding Notice of Intent to Plead Guilty
        (thereinafter “NOTICE”) if the circumstances of the particular case meet the requirements of the
        Motion. ABSOLUTELY NO ALTERATIONS MAY BE MADE TO THE FORM NOTICE.

2.      Those attorneys who wish to request that the Court set a case for a “Plea Hearing” may file the
        NOTICE and mark an “X” in the appropriate space.

3.      The corresponding NOTICE MUST be filed by the scheduled Plea Deadline.

4.      Any NOTICE filed pursuant to these instructions requires only the signature of the defense
        attorney, but service of the NOTICE upon the United States Attorney is required.

5.      File a single NOTICE for each case. DO NOT file a single NOTICE with more than one cause
        number. If you are eligible to file NOTICE in each case, you MUST file one NOTICE per case.

6.      Questions about this process may be directed by attorneys to the Courtroom Deputy.
